PLAINFIELD GRAIN CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Plainfield Grain Co. v. CommissionerDocket No. 1420.United States Board of Tax Appeals9 B.T.A. 446; 1927 BTA LEXIS 2582; December 1, 1927, Promulgated *2582 W. H. Cryder, Esq., for the petitioner.  Thomas P. Dudley, Jr., Esq., for the respondent.  LOVE *446  This proceeding was called from the Day Calendar of August 18, 1927, at Chicago, Ill., and is for a redetermination of a deficiency in income tax for the fiscal year ended February 28, 1919, in the amount of $4,403.75.  The only error assigned is that the Commissioner refused to grant special assessment under section 328 of the Revenue Act of 1918.  No evidence was offered at the hearing, but in lieu thereof the following stipulations, duly signed by counsel for petitioner and respondent, respectively, were filed, which stipulations the Board accepts: FINDINGS OF FACT 1.  The petitioner filed its income and profits tax return for the fiscal year ended February 28, 1919, with the Collector of Internal Revenue on September 19, 1919, on which return a tax of $11,126.09 was shown.  2.  The respondent assessed additional income and profits taxes for said fiscal year in the amount of $4,403.75 in August, 1924, under Section 274(d) of the Revenue Act of 1924.  *447  3.  On November 11, 1924, the respondent notified the petitioner by registered*2583  mail that he had determined an overassessment in the amount of $178.77 for the said fiscal year.  Said overassessment was stated to be the difference between the amount of tax for said fiscal year previously assessed, including the said amount of $4,403.75, and the amount of tax finally determined to be due.  4.  The respondent has made no other or further assessment of additional taxes for said fiscal year than the assessment mentioned in paragraph (2) and has not levied any distraint or begun any proceedings in court to collect any of the additional taxes for said fiscal year.  5.  The respondent determined the net income for said fiscal year to be $32,041.57, the invested capital $96,751.24, and the war profits and excess profits taxes to be $13,410.81.  OPINION.  LOVE: It will be noted that the Commissioner assessed additional taxes in the amount of $4,403.75, and later rebated $178.77 of that amount, leaving a deficiency in the amount of $4,224.98.  The only error assigned was that the Commissioner refused to grant special assessment under section 328 of the Revenue Act of 1918.  On that issue there was no evidence offered further than that found in paragraph 5 of the*2584  findings of fact, and those facts are not sufficient within themselves to entitle petitioner to special assessment.  (See section 327(d)(1).) The deficiency for 1919 is redetermined in the amount of $4,224.98.  Judgment will be entered accordingly.Considered by TRUSSELL, SMITH, and LITTLETON.  